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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-62-RSL

10          v.                                           DETENTION ORDER

11 ALMA BERENICE CASILLAS-GARCIA,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Heroin and Methamphetamine.

15 Date of Detention Hearing: June 4, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          If convicted as charged, defendant faces a mandatory term of imprisonment of 10 years.

23 By law there is a presumption of detention. Defendant has failed to rebut this presumption.



     DETENTION ORDER - 1
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 1 Defendant is a citizen of Mexico. Most of her relatives live there including her children. She

 2 has recent travel to Mexico. Her father is a co-defendant and he is at large. Defendant’s

 3 residence and employment have not been verified. Additionally, it appears if released, defendant

 4 would be residing with a felon. The government also proffered evidence that defendant has

 5 participated in drug trafficking activities that exceed the scope of the charged offenses. Her

 6 more than one time involvement in drug trafficking evidences she poses a danger to the

 7 community.

 8          It is therefore ORDERED:

 9          (1)    Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences, or being held in custody pending appeal;

12          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

13 counsel;

14          (3)    On order of a court of the United States or on request of an attorney for the

15 Government, the person in charge of the correctional facility in which Defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

20 Officer.

21       DATED this 4th day of June, 2012.

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23
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge


     DETENTION ORDER - 2
